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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,              §
                                       §
            Plaintiff-Respondent.      §
                                       §     CRIMINAL ACTION NO. H-10-788-1
VS.                                    §     CIVIL ACTION H–13-3127
                                       §
MICHAEL ANTHONY WILBOURN,              §
                                       §
            Defendant-Movant.          §

                              OPINION AND ORDER

       ADOPTING MAGISTRATE JUDGE’S MEMORANDUM AND RECOMMENDATION

        Pending before the Court in the above referenced federal

habeas corpus proceeding is Movant Michael Anthony Wilbourn’s §

2255 Motion to Vacate, Set Aside or Correct Sentence (instrument

#231 in CR-H-10-788-1); the United States of America’s motion to

dismiss (#249); and United States Magistrate Judge Frances Stacy’s

Memorandum and Recommendation (#254) that the Court grant the

Government’s motion.        No objections were filed to the Memorandum

and Recommendation.

                             Standard of Review

        Where no party objects to the Magistrate Judge’s Memorandum

and recommendation, the Court is not required to perform a de novo

review of the Magistrate Judge’s determination, but need only

review it to decide whether it is clearly erroneous or contrary to

law.    Gomez v. United States, 2014 WL 2114043, at *3 (W.D. Tex. May

20, 2014), citing United States v. Wilson, 864 F.2d 1219, 1221 (5th


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Cir. 1989).   Once a defendant has been convicted and has exhausted

or waived his right to appeal, a Court may presume that he “stands

fairly and finally convicted.”      United States v. Willis, 273 F.3d

592, 595 (5th Cir. 2001).    Therefore relief under § 2255 is limited

to “transgressions of constitutional rights and for a narrow range

of injuries that could not have been raised on direct appeal and

would, if condoned, result in a complete miscarriage of justice.”

United States v. Gaudet, 81 F.3d 585, 589 (5th Cir. 1996).                 The

court’s ability to reduce or modify a sentence of imprisonment once

it has been imposed is restricted.        United States v. Lopez, 26 F.3d

512, 515 (5th Cir. 1994).        There are four grounds on which a

defendant may move to vacate, set aside, or correct his sentence

under § 2255:     (1) his sentence was imposed in violation of the

Constitution or laws of the United States; (2) the district court

lacked jurisdiction to impose the sentence; (3) the sentence

imposed was in excess of the maximum authorized by law; and (4) the

sentence was otherwise subject to collateral attack.           28 U.S.C. §

2255.   “A defendant can challenge his conviction after it is

presumed final only on issues of constitutional or jurisdictional

magnitude . . .    and may not raise an issue for the first time on

collateral review without showing both ‘cause’ for his procedural

default and ‘actual prejudice’ resulting from the error.”            United

States v. Shaid, 937 F.3d 338, 232 (5th Cir. 1991)(citations

omitted).


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     The Court has carefully reviewed the briefs, the Magistrate

Judge’s Memorandum and Recommendation, and the applicable law and

finds the Memorandum and Recommendation is not erroneous in its

factual findings nor contrary to law.             Accordingly, the Court

hereby

     ADOPTS the Magistrate Judge’s Memorandum and Recommendation as

its own and

     ORDERS that the Movant’s § 2255 motion is DENIED, and the

Government’s motion to dismiss is GRANTED with prejudice.

     Finally, under 28 U.S.C. § 2255(c)(1)(B),          “Unless a circuit

justice or judge issues a certificate of appealability, an appeal

may not be taken to the court of appeals from . . . the final order

in a proceeding under section 2255.”            See also Federal Rule of

Appellate procedure 22(b)(1)(“If an applicant files a notice of

appeal, the district judge who rendered the judgment must either

issue a certificate of appealability or state why a certificate

should not issue.”).

     Furthermore, “[a] certificate of appealability may issue . .

. only if the applicant has made a substantial showing of the

denial of a constitutional right.”            28 U.S.C. § 2253(c)(2).      “A

petitioner satisfies this standard by demonstrating that jurists of

reason could disagree with the district court’s resolution of his

constitutional claims or that jurists could conclude the issue

presented     are   adequate   to   deserve    encouragement   to   proceed


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further.”   Miller-El v. Cockrell, 537 U.S. 322, 327 (2003), citing

Slack v. McDaniel, 529 U.S. 473, 484 (2000).             Where the district

court   denies   a   §   2255   motion   on   the    merits,   to   warrant   an

certificate of appealability a Movant must be able to show that

“reasonable jurists would find the district court’s assessment of

the constitutional claims debatable or wrong.”            Hanry v, Cockrell,

327 F.2d 429, 431 (5th Cir. 2003).            A district court may deny a

certificate of appealability sua sponte. Haynes v. Quarterman, 526

F.3d 189, 193 (5th Cir. 2008), citing Alexander v. Johnson, 211

F.3d 895, 898 (5th Cir. 2000).           The Court finds that Movant has

failed to make such a showing here and thus

     ORDERS that a certificate of appealability is DENIED.

     A final judgment will issue by separate order.

     SIGNED at Houston, Texas, this           31st   day of    July , 2014.



                                ___________________________
                                        MELINDA HARMON
                                UNITED STATES DISTRICT JUDGE




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